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                                               Exhibit 3(g): Dey Labs


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                Case 1:01-cv-12257-PBS Document 4684-6 Filed 09/05/07 Page 2 of 28


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                                                                                           Amount Paid:

                       HOLBROOK, MA 02343

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                                         SHEET :METAL WORKERS' NATIONAL HEALTH FUND
                                                           P.O. Box 1449
                                                   Goodlettsville, 'IN 37070-1449
    Claim No. 2890236                     'Phone (615) 859·0131 Toll-free (800) 831-4914                    Check No. 1412543
                                                  Explanation of Benefits                      SMW+ PrQ(uam




                03/2412005 03/24/2005             $1,212.60        $0.00       $20.62          $20.62              $20.62




    Comments:
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                                                                        Provider.              L1NCARE PHARM,o,('v C~D\"""~'"
                                                                        Participant SSN:   .                                                                        J1
                                                                        SMG Claim Number:      2890236
        L1NCARE PHARMACY                  SERVICES
        POB 9515
        AMHERST,              NY 14226


                                                 Processed by
                                                                _I      Southern Benefit
                                                                l!B!J AdmilJistrators, Illc.




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                               Case 1:01-cv-12257-PBS Document 4684-6 Filed 09/05/07 Page 3 of 28

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        d. INSURANCE PLAN NAME OR PROGRAM NAME                                                                                                                                         10<1.RESERVEll FOR lOCAL USE.
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         12. PATlENrS OR AUTHORl2ED PERSON'S SIGNATURE I.uthorlz. I"" rolo••• or eny medical., .!h.,,,,r,,,,,,.,i.n              "'<'''''''''1




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         14. DATE OF CURRENT:
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                                                           INJURY {Aa:ident) OR
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         17. NAME OF REFERRING PHYSICIAN OR OTHER SOURCE                                                                                                             170. I.D. NUMB.R OF REFERRING PHYSICIAN                                                              1a HOSPITALIZATION DATES RELAIEOTO CURRENT SERVICES
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         19. RESERVED FOR LOCAL USE                                                                                                                                                                                                                                       20. OUTSID~ LAB?                                         SCHAR6ES


         21. DIAGNOSIS OR NATURE OF Ili.NESS OR Ir>uuRY. (RElATE ITEMS 1,2,3 OR 4 TO ITEM 24E BY LINE)                                                                                                                                         t                                DYES              DNa         I                                                  I
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         31. SIGNATURE OF PHYSICIAN OR 5UPPlJER                                                                                            32. NAME AND ADDRESS OF FACIUT'I' WHERE SERVICES WERE                                                                          33. PI-IYSICIAN"S, SUPPLIER'S BIWNG NAME. AODRESS. ZIP CODE
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             Case 1:01-cv-12257-PBS Document 4684-6 Filed 09/05/07 Page 4 of 28

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Case 1:01-cv-12257-PBS Document 4684-6 Filed 09/05/07 Page 5 of 28




                                              Exhibit 3(h): Fujisawa


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                    Case 1:01-cv-12257-PBS Document 4684-6 Filed 09/05/07 Page 6 of 28
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                                   SHEEr METAL WORKERS' NATIONAL HEALTH FUND                                                            OA1EISSUED
                                    P.O. BOX 1449· GOODlETTSVILLE, TN 3707Q..1449

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                                    SHEET METAL WORKERS' NATIONAL HEALTH FUND
                                                                      P.O; Box 1449
                                                       Goodlettsville, Tennessee 37070-1449                             SMW+      PROGRAM
                                                 Toll-Free 800-631-4914 Phone (615) B59"{)131
                                                           EXPLANATION OF BENEFITS
        FROM                      TO          CHARGES               NON                        CHARGES    CO·•.•'ERED          P,MOVNT
        DATE                    DATE        SUBMITTED           COVERED                        ALLOWED                             PAID

  06!11/~002 06/11/2002                           226.00                      .00                23.20       23.20




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        P.O. BOX 111                        HINGHAM
        d.INSURANCE PlAN I'lMIE.OR PROGRAM NAME
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                    Case 1:01-cv-12257-PBS Document 4684-6 Filed 09/05/07 Page 8 of 28
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                                                               SHEET METAL WORKERS' NATIONAL HEALTH FUND
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                                                                                 Toll-Free 800-831-4914   Phone (615) 859-0131
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                   SIGNATURE                 ON FILE                                                  07/03/02                                                                                                            SIGNATURE                              ON     F.ILE
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    14. DATEOFCURRENT; ~ UNESS (Fh;lS)'mllI.m) OR                                                               15. IF PATIENTHAS HADSMlE ORSIMILARIUllESS.                                     16. DATES PATIENTUNAELe ro WORK INCURRENTOCCUPATION
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                            Case 1:01-cv-12257-PBS Document 4684-6 Filed 09/05/07 Page 11 of 28



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                                                                                                                                                    11/02/2005
                                                                                                                                                         Date Issued


                                                                                                                    Amount Paid:

                                     MEDWAY,   MA 02053

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                                                    File Copy                       "This is not a Check

                                                   SBEETMETAL          WORKERS' NATIONAL HEALTH FUND
                                                                            P.O. Box 1449
                                                                 Goodlettsville, 1N 37070-1449
Claim No.3093339                                         Phone (615) 859-0131 Toll-free (800) 831-4914                                     Check No. 1605648
                                                                Explanation, of Benefits                                     SMW+ PrOQram




                           09/19/2005          09119/2005       $6,134.82          $0.00          $531.64'                  $531.64        $53L64




Comments:




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                          Case 1:01-cv-12257-PBS Document 4684-6 Filed 09/05/07 Page 12 of 28
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               Case 1:01-cv-12257-PBS Document 4684-6 Filed 09/05/07 Page 13 of 28




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                  Case 1:01-cv-12257-PBS Document 4684-6 Filed 09/05/07 Page 14 of 28
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                      WORCHESTER,   MA 01606

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                                    File Copy                       This is not a Check
                                    SHEET METAL WORKERS' NATIONAL HEALTH F11ND
                                                P.O. Box 1449
                                               Goodlettsville,   TN 37070-1449
      Claim No. 2575096
                                     Phone (615) 859-0]3]        Toll-free (800) 83]-4914                    Check NO·IIi 7117
                                               Explanation of Benefits                        SMW+ PrOQram




                 06/08/2004   06/08/2004        $905.62          $0.00         $136.44       $]36.44          $136.44




     Comments:




                                                                     Provider.              PROCARE PHARMACY DIRECT INC
                                                                     Participanl   SSN:
        PROCARE PHARMACY DIRECT INC                                  DMA Claim Number:      ·2575095

        PO BOX 99794
        CHICAGO, IL 60696



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                                                                   S~llihern Benefit
                                                                   Administrators, Inc.




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                                        Case 1:01-cv-12257-PBS Document 4684-6 Filed 09/05/07 Page 15 of 28


         PLEASE                   SHEET                METAL WORKERS PLUS
         DO NOT
         STAPLE                   LOCAL                52 HEALTH WELFARE                                                                                                                                                                                                                                                                              ta:
         IN THIS                      PO BOX 1449                                                                                                                                                                                                                                                                                                     IU
         AREA                         GOODLETTSVILLE,                                         TW             37070-1449                                                                                                                                                                                                                             i5:
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                                  ADDRESS
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                                                                  Arsl Name, Mlddl. ""lIen



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          CITY

         WORCESTER
         ZIP CODE                                                IT~PHO~E                (Incluele Ar.o Code)
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         .-u.ihNow New York Inc.
        . Provider- ;: 127233D002                                                                                             HEIlICARE
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                      HANOVER, MA 02339

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                                                      SHEET METAL WORKERS' NATIONAL HEALTH FUND
                                                                        P.D.Box 1449
                                                                Goodlettsville, IN 37070-1449
     Cl~riinNo. 1618975                                 Phone (615) 859-0131 Toll-free (800) 831-4914                                                                                           Check No. 0142626
                                                                                               Explanation of Benefits                                                                 SMW+ Proaram




                 10/09/2001                10/09/2001                                           $309.00                                                    $0.00        $40.95         $40.95    $40.95




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                                                                                                                                                                 Participant SSN:
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        COMMONWEALTH HEMATOLOGY 0
        10 WILLARD ST
        QUINCY, MA 02169

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                            Case 1:01-cv-12257-PBS Document 4684-6 Filed 09/05/07 Page 19 of 28
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         INC:WOINS DEGREES OR CREDENTIALS                                                      RENOEROD [Uoihorlhan             homo II" 01flo8)
                           SPRINGFIELD' MEDICAL ASSOC                                                                                                                                      A~~f                                                                                       .
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    OLTZEL, PAUL M.D.      SPRINGFIELD, 'MA 01104-000                                                                                                                                     P.O. BOX 219          --...:;::,                                                                •••..
    uIC.# 039373  03/04/0                                                                                                                                                                 WINDSOR, CT 06095-0000
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   Date:     3/08/2004
   Time:       4;25PM                                                                                                Page:


   SPRINGFIELD       MEDICAL           ASSOC   INC
   PO BOX 219                                                          "MEDICARE REMITTANCE NOTICE
   WINDSOR, CT 06095
   Phone: (800) 883-5985                                                Provider/Clinic#:
                                                                                                                       N51714

  Check No/EFT Trace No:                             127340082
  Date Paid;               2/26/2004


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                                                                 SHEET METAL WORKERS' NATIONAL HEALTH FUND
                                                                       .           .           P.O. Box. 1449        '
                                                                                 . GoodlettsviUe, Tenness;ee 37070-1449                          .                   SMW+ PROGRAM
                                                                              Toll-Free 800;831-4914                      Pho"ne (615) 859-0131
                                                                                    .   EXPLANATI'ON
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                                    Case 1:01-cv-12257-PBS Document 4684-6 Filed 09/05/07 Page 23 of 28

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                  ,CAROLYN'                              j.'           'AHF(ENS                                                                                                                                         COLUMBUS,                                           OH                 43260-9657
                                                                           1.0/13/2111' 0                                                                                                                                                                                                      I',  (800) 445-34r1E.
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                     GOODLETTSVILLE, IN                '37070-1449                  ~llItE CHEMOTHERAPY


                                                                          DETAIL INVOICE

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                     'DATE OF S~VICE                           DESCRIPTION                           llTY.
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                   06/16/0[}     - 06(221i10.          DISPENS'ING PIN,          MINI                4.0 _      5,85          23.40
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                   06/16/00      - 06/22/00            BATTERY AA SIZE                               B;D      . 9.73          77.84
                   06Jt6/0[}     - 1l6/22/00           COVER~STERCU:AP)                          , 4~D'      ? 0.68            2.72
                   06~16/00      - 06{22/00            ~~~ RX Ii:       292920                       1,0:. '27.~.        '. 1.2!.73
                                             FLUOROURACIL26~5MG/18OML
                                             NS.9%


                   06/16/00      • 06/22/00            kk.   RX #: 292924                            2.0        4.68           9.36
                                     ,       NACl 0.9~-10ML             SDV


                   D6/16/00      ~ 1l6/22/00         .~.*RX Ii: 292925                               2.0        4.90          ·9.80
                                             HEPARIN"1l0         U/ML-10HL


                   :06/16/00     - 06122/00          .••.•••.. RX Ii:   292926                   . 2.0          0.55           1.1D
                                             SYR 10CC II          .


                  . 06/16/00     - 06/22100            .** RX #: 292927                              2.0       12.09 '        2.4.,18
                                             NOl,    /lUBER W/TUB 22GK3/4"


                   06/16/DO - 06[2<!/00               ••.••.•.
                                                            ,RX Ii:     292928                       2.0      .37_64          75.28
                                         ,ACCESS KIT




                                                                         **.-.   PLEASE PAY TH J S AHOONT •• _ •             388.81




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                                    . ' PLEASE RE"I~              TO:     C~ARTWELLHOMETHERAPIES
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                      ~D003 0616'-o1i2200"12,                                                                                                                                                                                            '10.46
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               1..:., .20OD3 061.6 Q62260 12                                                          ~           61.97'
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     i                                                                                                                                                      272.01 NEt                                   .,



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                ~~~ii03 ~~ ~mO~12': i; 1;4222'                                           .~'              -      18&:45"'. tit~                            0;00.:.'            '37.29       OA                        0.00                , '149.16
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                0525720D03 0623 D629DO 12                            '7 J9190                                   '67.97'          "19.11                    0.00"                 3.82       co                      48.116                      15.'29
                PT RESP " : 63.73.                                     ,Cl.AII1,TOrA"LS'                         367.50"           ;518.64,                0.00,::"             63.73                    ' '.       48.86                 '    254.91
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                0525720003
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                                                                         'ACNT 09168901E1.                                                               ,ICN 011228210167000             ISG'-v ltJA tiAia HAOl
                                                                             '700.00                                                       0.00'           O. 00 ~., 0.00 CO-B1T             700.00.:      : 0,.00
                       000      1    2l             ' q                       569.118                                                      11.011'         D.OO, .. 0.011 PR~10T'            .569.08, -.    '0.011
                 52S720003 0418, QS2100 .12, , ,lj, M222 '                   '3$.79.:"  .                                                  a • (10 .       0-.00' '.'     0 •.00 PR-l07..    ~·.1'9    '    '0.00
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  !             11525720(10:5 0418 OS2J:OO'12    88 JD87S                   59%.'00                                                        D,00            0.00 ','      '0.00 l'R-ID7' 5'il'i6.011      '   0.110,
                PT RE$P 6850 ;8T                     CUDi TOTAlS            7SSG.81                                                       '0.00            0.,00- ,': ': 0.00      ':     '7S50.87,'·        0.00
                ClAJlf INFO~T1J:lN. !'OIlIIARDED TO ~   !JffiIB'I ficas NEW lW1I'SlIIRE                                                  .                            !I.,OO· NET                '

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                                                                                                                  700.00.                 0.00             0.00 ,.'   O. DO CO-B17      700.00       0.00
                                                                                                                   15'.54"                0.00             0'.00 ::" O.DO PR-IOT          15.54      0',00
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                PT RfSP        l410~68                            ' ClAIM TOTALS.                            '21lG.~.                     D'.DO            0.00. ",  '0.00         '2110.68"        :0.00,
                ~          IM'OI!I«'I'1tN               FORWARDEDTO; 'ANTHEHSCBS                          NEW JWiPSHIR~;                                           '0.00 NET                         '                                '

                                                                                                                    091689CHEl.                            ICN ,O~22B2lDl6S000            AsS: Y I10A t!Al.8'HAOl
                                                                                                                   35...54-,"    0.00'                     0.110, ':     O.OD PR-I07','      IS.54         'D'.OO
                                                                                                                  392.74         0.00                      0.00'        ,0.00 PR-L07 ' 393.74               0.00
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                       II                      .                                                            '25.76                        O.DD          , 0.00 -;'                0.00 P.R-I07'                        25.16'                    , 0.00
                 ,   n0003, il60'1. 061500 12,                                                                   205.94                   0.00            0:.00,:.'               0.00 Pit-lOt.                      205.9'\                     ,0.00
                 GS25720003 0609 061500 12 ,63 ..Jli395 ,',                                                    1189.:.20                 'O'.GO             0.00:;",              0.00      Plt-107                 1189.20                         0'.00
                 PT RESP 1420 '-'10 '            'CL.AII1 TOTAI.S                                           . 1"i20'.-90                 ,0; OG            '0,00' '..           . 0.00      .                       lQ20.90,                        11
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                                                                      72..J0875:.                                '237a;"iO                  0.00             0.00:'"       O.OB PR-I07                              2378.40                       11.00
                                                                           ClAIM TDTALS                           3029.15                 ,0.00             'O.OO'~·      ,0.00 ' .                                 3029.15                       0.00
                                                                                 ANTHEH BCBS HEIf IWIPSHIRE.                                                        ,:0",00 NET'                                    .', :',




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            Case 1:01-cv-12257-PBS Document 4684-6 Filed 09/05/07 Page 26 of 28
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                               SHEET METAL WORKERSt NATIONAL HEAL'm                                                                                                      FUND
                                                P.O. Box 1449
                                        Goodlettsville, 'IN 37070-1449 .
Claim No. 2554958               Phone (615) 859-013] Toll-free (800) 83]-49]4                                                                                                                         Check No. 1098039
                                          Explanatio'n of Benefits' .                                                                                             SMW+ Proaram




            01107/2004   01108/2004       $3,510.55                                                 .$0.00                      $4] 1.04                         $41].04.                              $411.04




Comments:




                                                                                                                   Provider:                                     QUINCY MEDICAL CENTER
                                                                                                                   Participant SSN:                                                               Dependent:                                                              01
                                                                                                                   VLC Claim Number: 255495B
    QUINCY MEDICAL CENTER
    114 WHllWELL STREET
    QUINCY, MA 02169

                                                                                    •                             Southern Benefit
                                      Processed by                                  u-.u Administrators, lnc:
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 :l8           SHEET METAL
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               PO BOX 1449
               GOODLETTSVILLE!                                                     TN 37070-1449


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                    Case 1:01-cv-12257-PBS Document 4684-6 Filed 09/05/07 Page 28 of 28




 220061                        JOUINCY MEDIcaL C~~109!30!20041
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 P.I\.'!'!::NT tWlE                                     I ~An::~'l' CNTRL NlIMBERI:1Ui DrICOST IR~PTD CBGS IDRG NaR                                                                                   [OOTLI~R l\HT IREIMB RAl'E IJU.LOIl/IlEIM IINTEREST
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